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10   UNITED STATES OF AMERICA

11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 07-1402-SJO

14              Plaintiff,                    PROTECTIVE ORDER AS TO DEFENDANT
                                              KENNETH GOUCHER AND DOCUMENTS
15                    v.                      PRODUCED IN CONNECTION WITH
                                              DEFENDANT MAGI’S MOTION TO DISMISS
16   KENNETH GOUCHER,                         ON SPEEDY TRIAL VIOLATIONS
        aka “K-man,”
17
                Defendant.
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20         The court having reviewed the stipulation of plaintiff United
21   States of America and defendant KENNETH GOUCHER, and finding good
22   cause for the entry of this order, IT IS HEREBY ORDERED as follows:
23         1.    The government has produced, and may continue to produce,
24   sensitive documents to certain other defendants in this case in
25   reliance upon the protective order issued by the Court on August 11,
26   2017 and docketed as document number 700 in this matter (the “MAGI
27   DISCOVERY”).
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 1         2.    The MAGI DISCOVERY includes sensitive information,

 2   including but not limited to MLAT requests, communications between

 3   the government’s attorneys, communications with representatives of

 4   the government of Canada, and other documents related to the

 5   extradition process between the United States of America and Canada.

 6         3.    The MAGI DISCOVERY shall be produced to GOUCHER’S counsel

 7   subject to the conditions set forth in the paragraphs below:

 8         4.    The term “Defense Team” shall mean: (i) defendant KENNETH

 9   GOUCHER, (ii) defendant’s counsel of record, (iii) any member or

10   employee of defendant’s counsel’s firm, (iv) any co-counsel

11   representing defendant in connection with this case, and (v) anyone

12   retained by defendant’s counsel in connection with this case,

13   including but not limited to investigators, experts, consultants, and

14   reprographic service providers.

15         5.    Defendant’s counsel of record shall not share the contents

16   of any MAGI DISCOVERY with any person other than a member of the

17   Defense Team.    Defendant shall not possess on his own any portion of

18   the MAGI DISCOVERY.     If another member of the Defense Team (with the

19   exception of defendant) is a foreign-located person, as described in

20   paragraph 7, disclosure of any MAGI DISCOVERY to that member of the

21   Defense Team is further limited by paragraphs 7 and 8.

22         6.    Defendant’s counsel of record and any other member of the

23   Defense Team may use any MAGI DISCOVERY, or the contents or any

24   portion thereof, only for the specific purpose of litigation in this

25   matter and for no other purpose.        Only a member of the defense team

26   (except defendant) may make copies of any discovery containing the

27   MAGI discovery.

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 1         7.    Defendant’s counsel of record, defendant, or any other

 2   member of the Defense Team shall not disclose any MAGI DISCOVERY to

 3   any person whose residence and/or principal place of business is

 4   outside the United States (“foreign-located person”), unless (a) the

 5   government consents in advance in writing, or (b) the Court has

 6   expressly permitted disclosure of the MAGI DISCOVERY to such person

 7   by name.

 8         8.    In the event disclosure of any MAGI DISCOVERY to any

 9   foreign-located person is approved pursuant to paragraph 7, defense

10   counsel shall file with the Court a certification signed by such

11   foreign-located person under penalty of perjury under United States

12   law and with the understanding that he or she is subject to criminal

13   penalty under the laws of their country of origin for an

14   intentionally false declaration (1) acknowledging that he or she has

15   read and is subject to this Protective Order governing the MAGI

16   DISCOVERY, (2) agreeing to comply with the terms of this Protective

17   Order governing the MAGI DISCOVERY, and (3) consenting to the

18   jurisdiction of the United States District Court for the Central

19   District of California to enforce this Protective Order as to him or

20   her, including through prosecution or civil sanctions for contempt.

21         9.    Absent an order of the Court, documents referencing or

22   containing the MAGI DISCOVERY shall not be publicly filed with or

23   submitted to the Court or reproduced in any court filing unless the

24   documents are placed under seal.        When lodging any such document

25   under seal pursuant to this paragraph, a party shall cite the Order

26   entered upon this stipulation as pre-approved sealing authority by

27   noting in the caption, “FILED UNDER SEAL PURSUANT TO ORDER OF THE

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 1   COURT DATED [the date of the Order], Docket no. [the docket number of

 2   the Order].”

 3         10.   The government shall identify by Bates numbers or by

 4   stamping the documents as being subject to the protective order all

 5   materials provided or to be provided to the defense by the United

 6   States Attorney’s Office that are subject to this protective order.

 7         11.   At the conclusion of this case (including the final

 8   determination of any appeal and any post-conviction proceedings),

 9   defendant’s counsel of record shall either: (1) destroy all MAGI

10   DISCOVERY, and confirm such destruction in writing to government

11   counsel; or (2) return all MAGI DISCOVERY to government counsel, and

12   certify such action in writing to government counsel.

13         12.   This Protective Order shall be effective as of the date it

14   is issued by the Court and shall remain in effect not only throughout

15   the duration of this criminal case but also after the conclusion of

16   this criminal case.     This Protective Order may be modified, amended,

17   or vacated only upon further order of the Court.           The parties agree

18   that jurisdiction to enforce this Protective Order shall remain with

19   the Court even after the conclusion of this case.

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 1          13.   This Order shall apply to all MAGI DISCOVERY, including any

 2   such discovery produced after entry of this Order.

 3          IT IS SO ORDERED.

 4          November 14, 2017

 5   DATE                                    S. JAMES OTERO
                                             UNITED STATES DISTRICT JUDGE
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     Presented by:
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 9        /s/ Monica E. Tait
     Monica E. Tait
10   Assistant United States Attorney
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